Case 7:20-cv-06464-VB Document 17 Filed 10/21/20 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

enn ren ene emer me me neat a x
JASON MALTZ, JEFFREY MALTZ, and :
MICHELE MALTZ-MATYSCHSYK, :
Plaintiffs, ; ORDER
Vv. ;
20 CV 6464 (VB)
PRUCO LIFE INSURANCE COMPANY,
Defendants.
peceenn nen nee penne nee nneeeceeee X

As discussed at a telephone conference held on October 21, 2020, attended by counsel for
all parties, itis HEREBY ORDERED:

1. The next conference in this case shall take place on May 20, 2021, at 2:00 p.m.
The parties shall use the following information to connect by telephone:

Dial-In Number: (888) 363-4749 (toll free) or (215) 446-3662;

Access Code: 1703567.

Dated: October 21, 2020
White Plains, NY

SO ORDERED:

Yiu

Vincent L. Briccetti
United States District Judge

 
